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                   IN THE UNITED STATES DISTRICT COURT

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                   FOR THE SOUTHERN DISTRICT OF GEORGIA

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                                STATESBORO DIVISION
                                                                         SQ.oisr.

THE UNITED STATES OF AMERICA,


               Plaintiff,

                   V,                             6:16CR05-03


KENRIC LATHOMAS JORDAN,


               Defendant.




                                     ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in    the    parties'   motions   have   been       resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED,        this           day of November,      2016.




                                     UNITED a^TATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
